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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

ELIZABETH SINES, SETH WISPELWEY,
MARISSA BLAIR, TYLER MAGILL, APRIL
MUNIZ, HANNAH PEARCE, MARCUS
MARTIN, NATALIE ROMERO, CHELSEA
ALVARADO, and JOHN DOE

Plaintiffs,
Vv. Civil Action No.: 3:17CV00072

JASON KESSLER, RICHARD SPENCER,
CHRISTOPHER CANTWELL, JAMES ALEX
FIELDS, JR., VANGUARD AMERICA,
ANDREW ANGLIN, MOONBASE

HOLDINGS, LLC, ROBERT “AZZMADOR”
RAY, NATHAN DAMIGO, ELLIOTT

KLINE a/k/a ELI MOSELEY, IDENTITY
EVROPA, MATTHEW HEIMBACH, MATTHEW
PARROTT a/k/a DAVID MATTHEW PARROTT,
TRADITIONALIST WORKER PARTY,
MICHAEL HILL, MICHAEL TUBBS, LEAGUE
OF THE SOUTH, JEFF SCHOEP, NATIONAL
SOCIALIST MOVEMENT, NATIONALIST
FRONT, AUGUSTUS SOL INVICTUS,
FRATERNAL ORDER OF THE ALT-KNIGHTS,
MICHAEL “ENOCH” PEINOVICH, LOYAL
WHITE KNIGHTS OF THE KU KLUX KLAN,
and EAST COAST KNIGHTS OF THE KU KLUX
KLAN a/k/a EAST COAST KNIGHTS OF THE
TRUE INVISIBLE EMPIRE,

Defendants.

MOTION TO STAY DISCOVERY PENDING OUTCOME OF CRIMINAL CASE
COMES NOW JAMES ALEX FIELDS, by and through Counsel, hereby moves this
Court to stay all discovery in this matter pending the outcome of Fields’ criminal cases arising
from the same incidents alleged in the civil complaint, for reasons stated in his accompanying

memorandum in support thereof.
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Respectfully submitted,

JAMES ALEX FIELDS, JR.

By Counsel

‘Si
David L. Hauck, Esquire (VSB# 20565)
David L. Campbell, Esquire (VSB #75960)
DUANE, HAUCK, GRAVATT & CAMPBELL
100 West Franklin Street
Richmond, Virginia 23220
Telephone: 804-644-7400
Facsimile: 804-303-8911
dcampbell@dhdglaw.com
Counsel for Defendant James A. Fields, Jr.

CERTIFICATE OF SERVICE

[hereby certify thaton 23 ®? day of February, 2018, | electronically filed the foregoing
with the Clerk of Court using the CM/ECF system which will send notification of such filing to
the following:

Robert T. Cahill, Esquire
Cooley, LLP

11951 Freedom Drive, 14!" Floor
Reston, Virginia 20190-5656
Counsel for Plaintiff

Roberta A. Kaplan, Esquire
Julie E. Fink, Esquire
Christopher B. Greene
Kaplan & Company, LLP
350 Fifth Avenue, Suite 7110
New York, New York 10118

Karen L. Dunn, Esquire
William A. Isaacson, Esquire
Boies Schiller Flexner LLP
1401 New York Ave, NW
Washington, DC 20005
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Philip M. Bowman, Esquire
Boies Schiller Flexner LLP
575 Lexington Avenue

New York, New York 10022

Alan Levine, Esquire

Cooley LLP

1114 Avenue of the Americas, 46" Floor
New York, New York 10036

David E. Mills, Esquire

Cooley LLP

1299 Pennsylvania Avenue, NW
Suite 700

Washington, DC 20004

Kenneth D. Bynum, Esquire
BYNUM & JENKINS, PLLC
1010 Cameron Street
Alexandria, VA 22314

Pleasant S. Brodnax, III, Esquire
1701 Pennsylvania Ave., N.W.
Washington, D.C. 20006

Bryan Jones, Esquire

106 W. South St., Suite 211

Charlottesville, VA 22902

Counsel for Defendants Michael Hill, Michael Tubbs, and
Leagues of the South

Elmer Woodard, Esquire
5661 US Hwy 29
Blairs, VA 24527

and

James E. Kolenich, Esquire

9435 Waterstone Blvd. #140

Cincinnati, OH 45249

Counsel for Defendants Schoepp, Nationalist Front,
National Socialist Movement, Matthew Parrott, Matthew
Heimbach, Robert Ray, Traditionalist Worker Party, Elliot
Kline, Jason Kessler, Vanguard America, Nathan Damigo,
Identity Europa, Inc., and Christopher Cantwell
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| further certify that on February 23, 2018, I also served the following non-ECF
participants, via U.S. mail, First class and postage prepaid as follows:

Loyal White Knights of the Ku Klux Kian
c/o Chris and Amanda Barker

PO Box 54

Pelham, NC 27311

Richard Spencer
1001-A King Street
Alexandria, VA 22314

Michael Peinovich
PO Box 1069
Hopewell Junction, NY 12533

Moonbase Holdings
6827 N. High Street, Suite 121
Worthington, OH 43085

Andrew Anglin
6827 N. High Street, Suite 121
Worthington, OH 43085

East Coast Knights of the Ku Klux Klan
26 South Pine St.
Red Lion, PA 17356

Fraternal Order of the Alt-Knights
c/o LegalCorp Solutions, LLC

11 Broadway, Suite 615

New York, NY 106004

Augustus Sol Invictus
206 N. Mills Ave.
Orlando, FL 32801

{Si
David L. Hauck, Esquire (VSB# 20565)
David L. Campbell, Esquire (VSB #75960)
DUANE, HAUCK, GRAVATT & CAMPBELL
100 West Franklin Street
Richmond, Virginia 23220
Telephone: 804-644-7400
Facsimile: 804-303-891]
dcampbell@dhdglaw.com
Counsel for Defendant James A. Fields, Jr.
